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Attorneys for Plaintiffs

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA              )
MAPLEY,                                   )   Case No. CV-20-52-BLG-SPW
                                          )
                   Plaintiffs,            )    PLAINTIFFS’ STATEMENT
     vs.                                  )     OF DISPUTED FACTS RE:
                                          )   WTNY’S AND WTPA’S JOINT
WATCHTOWER BIBLE AND TRACT                )    MOTION FOR SUMMARY
SOCIETY OF NEW YORK, INC., and            )    JUDGMENT (ECF NO. 346)
WATCH TOWER BIBLE AND TRACT               )
SOCIETY OF PENNSYLVANIA.,                 )
                                          )
                   Defendants,            )
                                          )

     Plaintiffs submit the following Statement of Disputed Facts re: Defendants

Watchtower Bible and Tract Society of New York, Inc.’s (“WTNY”) and Watch
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Tower Bible and Tract Society of Pennsylvania’s (“WTPA”) Joint Motion for

Summary Judgment (ECF No. 346).

              PLAINTIFFS’ RESPONSES TO DEFENDANTS’
                STATEMENT OF UNDISPUTED FACTS

      1.    Plaintiffs Tracy Caekaert and Camilla Mapley identify Bruce Mapley,

Sr., and Gunnar Hain as their alleged sexual abusers. See Tracy Caekaert’s Ans. to

WTNY’s Int. No. 1; Camillia Mapley’s Ans. to WTNY’s Int. No. 1.

            a. Plaintiffs’ position: Undisputed.

            b. Evidence obtained since Plaintiffs’ Complaints were filed

                establishes that Hain and Mapley confessed to abusing Plaintiffs.

                In fact, Defendants have withheld evidence based on the existence

                of such confessions. It is therefore undisputed that the abuse

                alleged in the Complaints occurred and it is not mere allegations.

      2.    Plaintiff Tracy Caekaert was born on May 21, 1966. Depo. Tracy

Caekaert 11:25-12:3 (Feb. 9, 2023).

            a. Plaintiffs’ position: Undisputed

      3.    Plaintiff Camillia Mapley was born on June 2, 1968. Depo. Camillia

Mapley 12:25-13:1 (Nov. 29, 2022).

            a. Plaintiffs’ position: Undisputed

      4.    Plaintiffs Tracy Caekaert and Camilla Mapley, along with their

parents Bruce Mapley, Sr., and Shirley Gibson joined the Hardin Congregation of
                           Plaintiffs’ Statement of Disputed Facts: re
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Jehovah’s Witnesses (“Hardin Congregation”) in around 1973. See First Amended

Complaint and Demand for Jury Trial (“FAC”) (Doc. 22) at ¶ 33; Ex. C, Depo.

Caekaert at 36:2-5; Ex. D, Depo. Mapley at 35:17-25.

            a. Plaintiffs’ position: Disputed at Written.

            b. Undisputed as to the parts of the statement related to Bruce

                Mapley, Sr., and Shirley Gibson.

            c. Disputed as to Plaintiffs, who did not have the agency or capacity

                to join the Hardin Congregation in 1973.

      5.    Plaintiffs allege that, at the time they joined the Hardin Congregation,

their father Bruce Mapley, Sr., had been abusing them approximately twice per

week for several years. See Doc. 22, FAC at ¶ 34; Ex. C, Depo. Caekaert at 83:9-

22. The alleged abuse occurred at the Mapleys’ private residence or in other

private homes. Id. See also Ex. A, Tracy Caekaert’s Ans. to WTNY’s Int. No. 2

(identifying abuse timeframe as 1971-1983); Ex. B, Camillia Mapley’s Ans. to

WTNY’s Int. No. 2 (identifying abuse timeframe as 1971-1983); Ex. C, Depo.

Caekaert at 84:23-85:8; Ex. D, Depo. Mapley at 56:9-16.

            a. Plaintiffs’ position: Disputed as Written.

            b. Undisputed as the statement relates to Plaintiff Caekaert.

            c. Disputed as the statement relates to Plaintiff Mapley who testified

                that she is unsure of the frequency of the abuse prior to the Mapley

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                family joining the Hardin Congregation. Ex. A, Mapley Dep.,

                56:9–20.

      6.     Plaintiffs allege Gunnar Hain abused Plaintiffs in his private residence

in about 1976 or 1977. See Doc. 22, FAC at ¶ 36. See also Tracy Caekaert’s Ans.

to WTNY’s Int. No. 2 (identifying abuse timeframe as 1975-1977); Camillia

Mapley’s Ans. to WTNY’s Int. No. 2 (identifying abuse timeframe as 1975-1977).

Tracy Caekaert and Camilla Mapley were allegedly abused by Gunnar Hain a

single time. See Ex. C, Depo. Caekaert at 112:18-20; Ex. D, Depo. Mapley at

112:23-25.

             a. Plaintiffs’ position: Undisputed.

             b. Plaintiffs’ mother, Shirley Gibson, testified that Hain’s abuse

                occurred during 1977. Ex. B, Gibson Dep., 60:18–63:6.

      7.     Gunnar Hain’s relationship with the Mapley family arose from a

friendship between him and Bruce Mapley, Sr. See Ex. C, Depo. Caekaert at

68:20-22.

             a. Plaintiffs’ position: Disputed

             b. This statement misconstrues the testimony the Defendants are

                citing to, which simply states that Mapley and Hain were friends

                and would attend congregation related things outside of the church.

                The testimony actually establishes that the Mapley family’s

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                relationship with the Hain’s “arose” when the Hain’s were

                performing their door-to-door proselytizing as members of the

                Jehovah’s Witnesses and knocked on the Mapley’s door. See Ex.

                C, Caekaert Dep., 82:14–83:8.

      8.    Gunnar Hain, Bruce Mapley, Sr., Tracy Caekaert, and Camilla

Mapley are the only known eyewitnesses to the alleged abuse. See Ex. C, Depo.

Caekaert at 88:21-25. Accord Ex. D, Depo. Mapley at 87:16-88:7 (additionally

identifies Gunnar’s daughter Rhonda Hain Klessens Bell as an eyewitness).

            a. Plaintiffs’ position: Disputed

            b. The evidence establishes that Rhonda Klessens Bell was an

                eyewitness to the abuse of Tracy Caekaert and Camillia Mapley by

                Gunnar Hain, which Defendants seemingly recognize. Ex. D,

                Mapley’s Ans. to WTNY’s Interrog. No. 6; Ex. E, Caekaert’s Ans.

                to WTNY’s Interrog. No. 6.

            c. The evidence also establishes that Camillia Mapley and Tracy

                Caekaert witnessed the abuse of one another by Bruce Mapley, Sr.,

                and that Bruce Mapley Jr., also possibly witnessed this abuse. Ex.

                D, Mapley’s Ans. to WTNY’s Interrog. No. 6; Ex. E, Caekaert’s

                Ans. to WTNY’s Interrog. No. 6.



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                 d. The evidence is also unambiguous that both Hain and Mapley Sr

                     admitted to the abuse, so to the extent that this Statement is

                     intended to make it seem like the Plaintiffs’ allegations of sex

                     abuse are uncorroborated or unconfirmed, it is untrue and disputed.

                     Ex. F, CCJW000010–12; Ex. B, Gibson Dep., 60:18–63:24.

         9.       None of the alleged abuse by Bruce Mapley, Sr., or Gunnar Hain

occurred on property owned or controlled by the Hardin Congregation, WTNY, or

WTPA. See Ex. A, Tracy Caekaert’s Ans. to WTNY’s Int. No. 4; Ex. B, Camillia

Mapley’s Ans. to WTNY’s Int. No. 4; Tracy Caekaert’s Resp. to WTPA’s RFA

No. 1; Camillia Mapley’s Resp. to WTPA’s RFA No. 1.

                 a. Plaintiffs’ position: Undisputed.

         10.     Plaintiffs were not abused during the course of activities sanctioned

by the Hardin Congregation, WTNY, or WTPA. Ex. D, Depo. Mapley at 114:15-

116:2.

                 a. Plaintiffs’ position: Undisputed.

                 ADDITIONAL FACTS RELIED ON BY PLAINTIFFS

         11.For purposes of liability and agency there was no distinction between

               WTNY and WTPA during the relevant time-period. See generally Pls.’

               Mot. for PSMJ re: WTPA/WTNY Joint Venture, Br. in Supp., and SUF,



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   ECF Nos. 350–52; Pls.’ Br. in Resp and SDF re: WTPA’s MSJ re:

   Vicarious Liability, ECF Nos. 377, 378.

12.For all times material, WTNY and WTPA worked in concert to manage

   and oversee the operation of all local congregations in the United States,

   including the Hardin Congregation. Pls. SUF in Supp. of MPSJ re:

   Hardin Elders Agents of Joint Enterprise between WTNY and WTPA, ¶¶

   5–7, ECF No. 352 (hereinafter “Pls.’ SUF re: JV”).

13.For all material times, WTNY and WTPA worked in concert to write,

   publish, disseminate, teach, and enforce policies and procedures to be

   implemented and followed at local congregations in the United States,

   including policies and procedures that governed how local congregations

   were to handle reports of child sex abuse. Pls.’ SUF re: JV, ¶ 7b.

14.At all times relevant to this case, WTNY and WTPA worked in concert

   with each other to train and instruct the Hardin Elders on how to handle

   matters of serious sin, including child sex abuse. Pls.’ SUF re: JV, ¶ 7a–

   e.

15.At all times relevant to this case, all Elders in Hardin, Montana were

   appointed and controlled by WTNY and a joint enterprise between

   WTNY/WTPA.



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     a. The Hardin Congregation was established in 1971 with the

         approval of WTNY. Pls.’ SUF re: Hardin Elders are Agents of

         WTNY, ¶ 7a, ECF No. 341 (hereinafter “Pls.’ SUF re: WTNY”).

     b. Recommendations for the position of Elder in Hardin were sent to

         WTNY for approval by the Governing Body and WTNY and then

         sent back to Hardin. Pls.’ SUF re: WTNY, ¶ 7b.

     c. Newly appointed elders were instructed by WTNY to become

         familiar with their duties as outlined in the WTNY/WTPA

         publications provided to them by WTNY. Pls.’ SUF re: WTNY, ¶

         7c.

     d. Elders in the Hardin Congregation learned how to perform their

         various duties from WTNY/WTPA publications, “All Bodies of

         Elders” letters, and trainings/schools, all of which were provided

         to/for them by WTPA/WTNY. Pls.’ SUF re: WTNY, ¶ 7d.

     e. Hardin Congregation elders were appointed to, inter alia,

         investigate and handle wrongdoing within their congregation

         pursuant to the written policies set forth in WTPA/WTNY

         publications and letters. Pls.’ SUF re: WTNY, ¶ 7e.

     f. The elders and other officials of the Hardin Congregation for all

         years material to this case could only be removed against their will

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          by the Service Department acting through WTNY. Pls.’ SUF re:

          WTNY, ¶ 7f.

      g. The Hardin Congregation follows the direction from the top of the

          Organization’s hierarchy, whether communicated by a WTPA

          Circuit Overseer, the Service Department, the “branch”, WTNY or

          otherwise. Pls.’ SUF re: WTNY, ¶ 7g.

      h. The elders of the Hardin Congregation in the mid-seventies

          attended Kingdom Ministry School, where they learned their duties

          as Elders. Pls.’ SUF re: WTNY, ¶ 7h.

16.Defendants developed and instituted policies that members of all local

   congregations are required to follow and these policies effectively

   supplanted secular law and authority. Pls.’ SUF re: JV, ¶ 7a–e.

17.These policies include, inter alia:

      a. congregation members are to bring all matters of wrongdoing

          (including allegations of child sex abuse) to the elders for

          investigation and resolution by the body of elders; (2) to keep all

          such matters confidential; and (3) if secular law and Jehovah’s

          Witnesses’ policies conflicted, to follow Jehovah’s policies. Ex.

          G, 1977 Pay Attention to Yourselves and to All the Flock., 65, 89;

          Ex. H, 1972 Kingdom Ministry School Course, 18, 91–93; Ex. I,

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         April 1, 1971 Watchtower, 223; see also Ex. J, 1989 All Bodies of

         Elders Letter, 2 (citing pre-1979 policies); Ex. K, James Rowland

         Dep., 130:15–131:7; Ex. L, Lovett Dep., 72:20–74:15, 147:19–24;

         202:8–212:5; Ex. M, Steele Aff., ¶¶ 7–14; Ex. B, Gibson Dep.,

         67:6–18.

     b. When investigating allegations of child sex abuse, congregation

         elders shall employ the specific “judicial process” set forth by

         Defendants. Ex. N, WTNY 30(b)(6) Jefferson Dep., 172:8–173:7.

     c. Congregation elders are vested and charged with the authority of

         investigating and determining whether allegations of child sex

         abuse are proven or not and when making such determination are

         required to apply Defendants policies. Pls.’ SUF re: WTNY, ¶ 7e.

     d. When investigating allegations of child sex abuse, congregation

         elders are to determine such accusations are not true unless the

         alleged perpetrator confesses or there are two witnesses to the

         abuse. Ex. O, Fraser Dep., 20:15–21:2, Ex. N, WTNY 30(b)(6)

         Jefferson Dep., 182:22–183:11, Ex. P, Nunez Trans. Vol. I at

         199:3–203:14, 211:23–213:24.

     e. When investigating allegations of child sex abuse, a refusal by the

         alleged victim to confront the alleged perpetrator can be used as a

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                basis to conclude that the abuse did not happen. Ex. Q, Ltr. from

                Hardin Congregation to CCJW; Ex. L, Lovett Dep., 213:8–

                216:14;1 Ex. R, Memo. of Record Svenson; Ex. S, 1981 Pay

                Attention to Yourselves and to All the Flock, 163.

            f. When investigating allegations of child sex abuse, congregation

                elders are to determine if the alleged victim’s memories of the

                abuse are the result of “demons” or can be characterized as

                “repressed” memories, and if so, the elders can conclude that the

                abuse did not happen. See, e.g., Ex. T, Ltr. from Kufner to Hardin

                Congregation.

            g. Upon completion of their investigation, if the congregation elders

                conclude that the abuse did happen, they are vested with discretion

                on how to address the abuse, but they are under a duty to keep the

                things they learned confidential, including keeping known child

                sex abuse secret from secular authorities and other people in the

                congregation and surrounding community. Ex. U, Hiebert Dep.,

                85:8–87:10, Ex. P, Nunez Trans. Vol. I, 211:23–213:24.



1
 Defendants’ agent Lovett acknowledges that a policy of this nature exists. To the
extent he says this policy does not apply to child sexual abuse, the documents
suggest otherwise, and show that Hardin Elders were applying this policy in cases
of child sexual abuse.
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      h. Congregation Elders told members that they should not report

          child sexual abuse to secular authorities. Ex. O, Fraser Dep., 21:3–

          23:2, 71:1–12.

      i. Congregation elders and members are taught that failure to follow

          Jehovah’s policies, including the confidentiality policy, will be

          judged by God. Ex. L, Lovett Dep., 202:24–204:7.

      j. Congregation members who fail to follow the Watchtower

          Protocols are disfellowshipped or disassociated and will be

          shunned. Ex. N, WTNY 30(b)(6) Jefferson Dep., 212:9–213:9.

      k. Congregation members understood that Elders were in a position

          of trust. Ex. V, July 20, 1998 BOE Letter; Ex. W, March 23, 1992

          BOE Letter; Ex. J, July 1, 1989 BOE Letter.

18.Consistent with the Watchtower Protocols, upon becoming members of

   the Jehovah’s Witness church Plaintiffs’ families were taught by the

   Hardin Elders to bring all matters of concern, i.e. wrongdoing of others,

   including reports of child sex abuse, to the Congregation’s elders. Ex. B,

   Gibson Dep., 67:6–18.

19.Prior to appointing local congregation elders, Defendants do not conduct

   any due diligence to determine whether they are fit to perform the duties

   delegated to them, including implementation of the Watchtower

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         protocols. Ex. L, Lovett Dep., 232:4–234:2, 235:4–240:10, Ex. N,

         WTNY 30(b)(6) Jefferson Dep., 46:13–49:25.

      20.After appointing local congregation elders, Defendants fail to provide

         them any training sufficient to properly perform their designated tasks.

         For instance:

            a. While Defendants designate the task of investigating accusations

                of child sex abuse to local congregation elders, they fail to provide

                adequate training for such a task, including proper interview and

                investigative techniques. Ex. U, Hiebert Dep., 48:5–9

            b. Instead, Defendants train local congregation elders to effectively

                dismiss allegations of child sex abuse unless there is a confession,

                and even then, they are trained to keep such abuse confidential so

                that it will stay secret. Ex. Q, Ltr. from Hardin Congregation to

                CCJW; Ex. L, Lovett Dep., 213:8–216:14; 2 Ex. R, Memo. of

                Record Svenson; Ex. S, 1981 Pay Attention to Yourselves and to

                All the Flock, 163; Ex. O, Fraser Dep., 20:15–21:2, Ex. N, WTNY




2
 Defendants’ agent Lovett acknowledges that a policy of this nature exists. To the
extent he says this policy does not apply to child sexual abuse, the documents
suggest otherwise, and show that Hardin Elders were applying this policy in cases
of child sexual abuse.
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            30(b)(6) Jefferson Dep., 182:22–183:11, Ex. P, Nunez Trans. Vol. I

            at 199:3–203:14, 211:23–213:24. Ex. U, Hiebert Dep., 85:8–87:10.

21.Elders of the Hardin Congregation learned that Gunnar Hain was

   molesting children as early as 1974. Ex. K, James Rowland Dep.,

   150:25–152:2.

22.Elders of the Hardin Congregation knew that Gunnar Hain was molesting

   children by 1976. Ex. X, Klessens Dep., 11:15–16:9.

23.In or around 1976, Hain’s wife went to the Hardin elders and reported

   that Hain had sexually abused his daughter, C.K.. Ex. X, Klessens Dep.,

   11:15–16:9.

24.According to C.K., Hardin elders Harold Rimby and Martin Svenson

   came to her house to investigate the allegations. Ex. X, Klessens Dep.,

   56:22–58:2; 60:6–63:25.

25.When told by C.K.’s mother that she wanted to divorce Hain, Rimby and

   Svenson said no, that was not permitted. According to C.K., the Hardin

   elders reported the abuse to “New York” to determine what discipline

   should be administered to Hain. Ex. X, Klessens Dep., 12:15–25, 34:9–

   35:15.

26.Svenson instructed Hain to move out of the family home for two

   weeks. Ex. X, Klessens Dep., 56:22–58:2; 60:6–63:25.

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27. Defendants Agents removed Hain from his home for a two-week period,

   in order to handle the situation. Ex. X, Klessens Dep., 13:1–16:19.

28.During that two-week period, Hain lived with Svenson. Ex. X, Klessens

   Dep., 12:15–21.

29.According to C.K., the Hardin elders did not report what they knew about

   Hain in 1976 to the police or take any other reasonable steps to prevent

   him from continuing to abuse C.K. or other girls within the Hardin

   Congregation, including Plaintiffs. Instead, the elders told C.K. “not to

   talk about it.” Ex. X, Klessens Dep., 33:7–22.

30.Gunnar Hain confessed to abusing Plaintiffs and other young children

   within the Hardin Congregation no later than 1977. Ex. F,

   CCJW000010–12, Ex. B, Gibson Dep., 61:19–62:11.

31.The elders of the Hardin Congregation never reported Gunnar Hain’s

   abuse of minors to Montana secular authorities or took other reasonable

   steps to prevent future abuse, including the abuse of Plaintiffs.

32.Gunnar Hain was reinstated and placed into a position of authority in the

   Hardin Congregation after confessing to sexually abusing children. Ex.

   B, Gibson Dep., 94:19–95:6.




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33.Gunnar Hain continued to sexually abuse children after his confession in

   1977, including Plaintiffs. Ex. Y, Schulze Dep., 84:4–85:2; Ex. Z,

   Ariane Rowland Dep., 55:2–17.

34.Bruce Mapley, Sr. repeatedly sexually abused Plaintiff Mapley from a

   time she is too young to remember to 1982. Ex. A, Mapley Dep., 56:9–

   57:6.

35.Bruce Mapley, Sr. repeatedly sexually abused Plaintiff Caekaert from

   approximately 1971 to 1983. Ex. C, Caekaert Dep., 84:3–87:5.

36.Bruce Mapley, Sr. confessed to sexually abusing Tracy Caekaert in front

   of Shirley Gibson, Harold Rimby, Tracy Caekaert, Camillia Mapley, and

   Bruce Mapley, Jr. Ex. B, Gibson Dep., 60:18–63:24.

37.Elders in the Hardin Congregation were aware Bruce Mapley, Sr. was

   molesting children as early as 1977 when they informed Plaintiffs’

   mother that both Mapley, Sr. and Hain had molested her daughter. Ex. B,

   Gibson Dep., 60:17–64:10; see also Ex. C, Caekaert Dep., 95:12–96:17;

   see also Ex. K, James Rowland Dep., 185:16–19.

38.The elders of the Hardin Congregation never reported Bruce Mapley,

   Sr.’s abuse of children to Montana secular authorities or took other

   reasonable steps to prevent future abuse, including the abuse of Plaintiffs.



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39.As instructed by the Watchtower Protocols, Plaintiffs’ mother went to the

   Hardin Congregation’s Kingdom Hall to discuss Hain’s and Mapley’s

   abuse with elder Rimby. When Plaintiffs’ mother stated that they should

   report Hain and Mapley, Sr. to secular authorities, Defendants’ Hardin

   clergy told her no and that he would “take care of it.” Ex. B, Gibson

   Dep., 77:14–80:24, 177:21–178:3; Ex. AA, Gibson Aff., ¶ 5.

40.Mapley, Sr. was not disciplined in any way by the Hardin Elders upon

   confessing to sexually abusing children in the Hardin Congregation in

   1977. Ex. B, Gibson Dep., 60:18–61:16.

41.At the time the Hardin elders learned Plaintiffs had been sexually abused

   by Hain and Mapley, Sr. (1977) they were required to report what they

   knew to secular authorities. Ex. BB, R.C.M. § 10-1304.

42.At all times relevant, Hardin Elders were acting within the scope of their

   jobs as persons in positions of authority that they were appointed to by

   WTNY and WTPA, when “handling” the allegations and confessions of

   child sexual abuse committed by Hain and Mapley, Sr. Ex. B, Gibson

   Dep., 64:1–17.

43.Upon learning that Hain had sexually abused Klessens, Defendants’ local

   Hardin elders failed to report Hain to secular authorities or take any other

   reasonable action to prevent Hain from continuing to abuse young girls,

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   including Plaintiffs. Ex. X, Klessens Dep., 33:7–22; Ex. B, Gibson Dep.,

   94:19–95:6.

44.Upon learning that Mapley, Sr. had sexually abused Plaintiffs

   Defendants’ local Hardin elders failed to report Mapley Sr. to secular

   authorities or take any other reasonable action to prevent Mapley, Sr.

   from continuing to abuse Plaintiffs. Ex. B, Gibson Dep., 60:18–61:16,

   177:21–178:3; Ex. AA, Gibson Aff., ¶ 5.

45.At all times relevant to Defendants’ Motion, they did not have a policy

   that local congregation elders were to comply with secular mandatory

   reporting laws. See Ex. J, 1989 BOE Letter; Ex. L, Lovett Dep., 142:4–

   25.

46.Plaintiffs and their mother relied on Jehovah’s Witness protocols,

   policies, procedures, and the assurance of the Defendants’ Agents in the

   Hardin to appropriately handle the allegations and subsequent

   confessions of Gunnar Hain and Mapley, Sr. to child sexual abuse. Ex.

   B, Gibson Dep., 64:1–23, 66:21–68:1, 78:21–80:24, 82:8–23, 174:16–

   175:3.

47.As a result of this reliance, Plaintiffs remained at risk and suffered harm.

   Ex. A, Mapley Dep., 56:9–57:6, Ex. C, Caekaert Dep., 84:3–87:5.



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48.Mapley, Sr., not only continued to sexually abuse Camillia Mapley and

   Tracy Caekaert, but also sexually abused several other children in

   Jehovah’s Witness Congregations. Ex. Y, Shulze Dep., 118:7–21; Ex.

   CC, Ltr. from Hardin Congregation to CCJW.

DATED this 9th day of May, 2024.

                              By: /s/ Ryan Shaffer
                                  Ryan R. Shaffer
                                  MEYER, SHAFFER & STEPANS PLLP

                                   Attorneys for Plaintiffs




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                            CERTIFICATE OF SERVICE

      Pursuant to Local Rule 1.4, this document has been served on all parties via

electronic service through the Court’s Case Management/Electronic Case Filing

(CM/ECF) system.

                                     By: /s/ Ryan Shaffer
                                         Ryan R. Shaffer
                                         MEYER, SHAFFER & STEPANS PLLP

                                          Attorneys for Plaintiffs




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